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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION


   DENNIS SPEERLY, et al., individually            Civil Action No. 2:19-cv-11044
   and on behalf of all others similarly
   situated,                                       Hon. David M. Lawson
                                                   Magistrate Judge David R. Grand
         Plaintiffs,

         v.

   GENERAL MOTORS LLC,

         Defendant.


           JOINT MOTION TO STAY CLASS NOTICE DEADLINES
        Pursuant to Fed. R. Civ. P. 23(f), Defendant General Motors LLC (“GM”) and

  Plaintiffs jointly request that the Court stay further deadlines regarding the form,

  content, and issuance of class notice until the Sixth Circuit Court of Appeals rules

  on GM’s Rule 23(f) petition for permission to immediately appeal the Court’s March

  20, 2023 Order granting certification of 26 statewide classes.

        The grounds and legal authority for entering a stay of deadlines related to class

  notice are discussed in the “Memorandum in Support of Joint Motion to Stay Class

  Notice Deadlines,” filed with this Motion.

        Pursuant to Local Rule 7.1(a), the parties have conferred and jointly agree to

  the relief requested in this motion.
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   April 19, 2023                           Respectfully submitted,

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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION


   DENNIS SPEERLY, et al.,
   individually and on behalf of all others
   similarly situated,
                                              Civil Action No. 2:19-cv-11044
                Plaintiffs,
                                              Hon. David M. Lawson
         v.
                                              Magistrate Judge David R. Grand
   GENERAL MOTORS LLC,

                Defendant.


                 MEMORANDUM IN SUPPORT OF JOINT
               MOTION TO STAY CLASS NOTICE DEADLINES
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                      STATEMENT OF ISSUES PRESENTED

         Under Rule 23(f), a district court may stay proceedings when a party petitions
  the court of appeals to permit an immediate appeal from an order granting class
  certification. Should the Court stay proceedings related to the form, content, and
  issuance of class notice while the Sixth Circuit considers General Motors LLC’s
  Rule 23(f) petition for permission to appeal the Court’s March 20, 2023 Order
  granting certification of 26 statewide classes?

        General Motors LLC and Plaintiffs both respectfully submit that the answer
  is “Yes.”




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                   STATEMENT OF CONTROLLING AND
                    MOST APPROPRIATE AUTHORITY

  1.   Fed. R. Civ. Proc. 23(f)

  2.   Beattie v. CenturyTel, Inc, 2006 WL 1722207 (E.D. Mich. June 20, 2006)

  3.   Powell v. Tosh, 2012 WL 1202289 (W.D. Ky. Apr. 10, 2012)

  4.   3 NEWBERG AND RUBENSTEIN ON CLASS ACTIONS § 8:11 (6th ed. 2022)
  5.   MANUAL FOR COMPLEX LITIGATION § 21.28 (4th ed. 2008)




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                                   INTRODUCTION

        In furtherance of the Court’s March 20, 2023 Order and Opinion, counsel for

  Defendant General Motors LLC (“GM”) and Plaintiffs have met and conferred about

  notice to absent class members. The parties discussed the preliminary details of

  Plaintiffs’ proposed notice plan, but both agree that further efforts to finalize the

  form and content of class notice and to deliver class notice should be temporarily

  stayed until the Sixth Circuit rules on GM’s pending Rule 23(f) petition. While

  Plaintiffs oppose GM’s petition, the parties nevertheless agree that notice should not

  be finalized and issued until the petition is resolved to avoid the risks of unnecessary

  litigation, judicial waste, substantial expense, and confusion that would result if the

  Sixth Circuit were to decertify any class or modify any class definition after class

  notice had been finalized and issued. Thus, a temporary stay of notice-related

  deadlines is appropriate.

        Because a Rule 23(f) Petition does not automatically stay proceedings, the

  parties jointly move the Court to stay the notice-related deadlines in its March 23,

  2023 Order until the Sixth Circuit rules on GM’s Petition. A temporary stay limited

  to the class notices is appropriate under the four-factor balancing test applied to Rule

  23(f) stay requests because the public interest weighs strongly in favor of avoiding

  the “confusion and the substantial expense of renotification that may result from

  appellate reversal or modification” after dissemination. Powell v. Tosh, 2012 WL



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  1202289, at *1 (W.D. Ky. Apr. 10, 2012) (quoting MANUAL FOR COMPLEX

  LITIGATION § 21.28 (4th ed. 2008)); see also Beattie v. CenturyTel, Inc., 2006 WL

  1722207, at *3 (E.D. Mich. June 20, 2006) (Lawson, J.) (staying notice-related

  deadlines). Accordingly, the parties respectfully request that the Court stay class

  notice deadlines and activities until the Sixth Circuit has ruled on GM’s Petition.

                                 LEGAL STANDARDS

        Under Rule 23(f), an appeal “does not stay proceedings in the district court

  unless the district judge or the court of appeals so orders.” Fed. R. Civ. P. 23(f). In

  evaluating “motions to stay under Rule 23,” courts employ the balancing test used

  “for determining preliminary injunctions or stays pending appeal.” Beattie, 2006 WL

  1722207, at *3; see also Dyas v. State Farm Fire & Cas. Ins. Co., 2010 WL

  11488808, at *1 (E.D. Ky. Dec. 22, 2010) (“District courts in the Sixth Circuit have,

  therefore, applied the traditional analysis for determining requests for preliminary

  injunctive relief to Rule 23(f) motions to stay.”).

        Thus, the court must weigh (1) “the likelihood that the party seeking the stay

  will prevail on the merits of the appeal”; (2) “the likelihood that the moving party

  will be irreparably harmed absent a stay”; (3) “the prospect that others will be

  harmed if the court grants the stay”; and (4) “the public interest in granting the stay.”

  Grutter v. Bollinger, 247 F.3d 631, 632 (6th Cir. 2001). “These factors are not

  prerequisites that must be met, but are interrelated considerations that must be



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  balanced together.” Mich. Coal. of Radioactive Material Users, Inc. v. Griepentrog,

  945 F.2d 150, 153 (6th Cir. 1991).

                          ARGUMENTS & AUTHORITIES

        Where, as here, a Rule 23(f) petition seeks review of “a grant of certification,

  the district court should ordinarily stay the dissemination of class notice to avoid the

  confusion and the substantial expense of renotification that may result from appellate

  reversal or modification after dissemination.” MANUAL FOR COMPLEX LITIGATION §

  21.28 (4th ed. 2008); see also 3 NEWBERG AND RUBENSTEIN ON CLASS ACTIONS §

  8:11 (6th ed. 2022) (“[C]ourts sensibly delay sending notice of class certification if

  the certification decision has been appealed under Rule 23(f). Notifying the class in

  those circumstances could then require re-sending notice if the appellate court

  reverses, a situation that is likely to cause confusion.” (internal footnote omitted)).

        Indeed, district courts routinely stay class notice activities to avoid the risks

  of unnecessary litigation and expense as well as the potential confusion of absent

  class members that could result from reversal on appeal. See Beattie, 2006 WL

  1722207, at *9 (staying deadlines “pertaining to notification of the potential class

  members” and “discovery relating to identifying the names and addresses of the

  members of the class”); Fernandez v. RentGrow, Inc., 2022 WL 1782641, at *3 (D.

  Md. June 1, 2022) (collecting cases) (“[A] stay is supported by the significant

  expenditure of time and money that could be avoided by issuing the stay, as well as



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  the widespread confusion that could be caused by a subsequently retracted or

  modified class notice.”); Reyes v. Educ. Credit Mgmt. Corp., 2017 WL 4640418, at

  *4 (S.D. Cal. Oct. 17, 2017) (concluding “there is potential irreparable harm to the

  class if notice is prematurely disseminated” and “temporarily staying proceedings

  concerning class notice, including the requirement that the parties jointly submit a

  proposed class notice and notice dissemination plan”); Powell, 2012 WL 1202289,

  at *5 (“If class notice is published before resolution of Defendants’ appeal, and this

  Court's order is reversed, a corrective notice would need to be issued. This would

  create significant confusion among the potential class members. Because a potential

  plaintiff in a Rule 23(b)(3) action is bound unless he or she opts out, voiding a

  previously issued class notice could create significant issues regarding whether

  additional action must be taken after any corrective notice is received by the class

  members.”). 1

        The Court should enter such a limited stay here. GM’s Rule 23(f) petition

  presents various grounds for appeal that, if granted, could result in decertification or

  modification of the 26 certified classes. Either result would require corrective notices


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   See also Whitlock v. FSL Mgmt., LLC, 2012 WL 6675124, at *4 (W.D. Ky. Dec.
  21, 2012) (adopting Powell’s reasoning); In re Polyurethane Foam Antitrust Litig.,
  2014 WL 12591692, at *5 (N.D. Ohio May 16, 2014) (staying class notice to
  “avoid confusing absent class members with successive class notices”); In re Rail
  Freight Fuel Surcharge Antitrust Litig., 286 F.R.D. 88, 94 (D.D.C. 2012) (staying
  class notice pending Rule 23(f) appeal).


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  to be sent to absent class members, which would be both costly and likely to confuse

  those class members. The parties agree that it is a more efficient use of both their

  and the Court’s resources to temporarily stay notice-related activities until the Sixth

  Circuit acts on GM’s petition. Such a limited and narrow stay will serve the public

  interest while allowing the parties to make progress elsewhere in the litigation while

  GM’s petition is pending. Thus, the parties’ joint motion for a limited stay should

  be granted.

                                    CONCLUSION

        The Court should exercise its discretion to temporarily stay the deadlines in

  its March 23, 2023 Order related to class notice until the Sixth Circuit acts on GM’s

  Rule 23(f) Petition.




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   April 19, 2023                           Respectfully submitted,

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                             CERTIFICATE OF SERVICE

        The undersigned hereby certifies that on April 19, 2023 the foregoing was

  electronically filed with the Clerk of the Court using the CM/ECF system, which

  will send notification of this filing to all counsel of record.



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